               Case 22-30659-mvl11 Doc 1 Filed 04/14/22                               Entered 04/14/22 09:02:40                 Page 1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Northwest Senior Housing Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  8523 Thackery Street                                           4201 Corporate Drive
                                  Dallas, TX 75225                                               West Des Moines, IA 50266
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.edgemeredallas.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 22-30659-mvl11 Doc 1 Filed 04/14/22                                Entered 04/14/22 09:02:40                       Page 2 of 9
Debtor    Northwest Senior Housing Corporation                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 22-30659-mvl11 Doc 1 Filed 04/14/22                                     Entered 04/14/22 09:02:40                     Page 3 of 9
Debtor    Northwest Senior Housing Corporation                                                            Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      Senior Quality Lifestyles Corporation                         Relationship               affiliate
                                                     District    Northern Texas                When                            Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                 Case 22-30659-mvl11 Doc 1 Filed 04/14/22                             Entered 04/14/22 09:02:40                    Page 4 of 9
Debtor    Northwest Senior Housing Corporation                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      04/10/2022
                                                  MM / DD / YYYY


                             X   /s/ Nick Harshfield                                                      Nick Harshfield
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Treasurer




18. Signature of attorney    X   /s/ Trinitee G. Green                                                     Date 04/14/2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Trinitee G. Green
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 2950 N. Harwood, Suite 2100
                                 Dallas, Texas 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-397-0030                  Email address      tggreen@polsinelli.com

                                 24081320 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
DocuSign Envelope ID: E84789CF-47E6-44DB-AB46-0339DC8408F0
             Case 22-30659-mvl11 Doc 1 Filed 04/14/22              Entered 04/14/22 09:02:40       Page 5 of 9




                       REGULAR MEETING OF THE BOARD OF DIRECTORS OF NORTHWEST
                           SENIOR HOUSING CORPORATION D/B/A EDGEMERE

                                                             April 11, 2022

                    The undersigned, constituting all of the directors (the “Directors”) of the Board of
            Directors (the “Board”) of NORTHWEST SENIOR HOUSING CORPORATION D/B/A
            EDGEMERE, a Texas nonprofit corporation (the “Company”), hereby adopts and approves these
            resolutions after consideration at a properly noticed Regular Meeting of the Board held on April
            11, 2022 (the “Resolutions”) and directs that these Resolutions be filed with the Company’s
            official minutes:

            A.       Chapter 11 Filing

                    WHEREAS, the Board has considered presentations by management and the financial and
            legal advisors of the Company regarding the liabilities and liquidity situation of the Company, the
            strategic alternatives available to it and the effect of the foregoing on the Company’s business; and

                    WHEREAS, the Board has had the opportunity to consult with the management and the
            financial and legal advisors of the Company and fully consider each of the strategic alternatives
            available to the Company.

                     NOW, THEREFORE, IT IS

                   RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
            the Company, its creditors, and other parties in interest, that the Company shall be and hereby is
            authorized to file or cause to be filed voluntary petitions for relief for the Company (the “Chapter
            11 Case”) under the provisions of chapter 11 of title 11 of the United States Code (the
            “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy Court”); and it is further

                    RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
            the Company to designate the Board’s Treasurer as an authorized agent with authority to execute
            and deliver any instrument on behalf of the Company in connection with the Chapter 11 Case and
            otherwise be deemed one of the Authorized Officers as defined below (the “Authorized Agent”);
            and it further

                    RESOLVED, that the President & Chief Executive Officer and the Authorized Agent (the
            “Authorized Officers”), acting alone or with one or more other Authorized Officers be, and they
            hereby are, authorized, empowered and directed to execute and file on behalf of the Company all
            petitions, schedules, lists and other motions, papers, or documents, and to take any and all action
            that they deem necessary or proper to obtain such relief, including, without limitation, any action
            necessary to maintain the ordinary course operation of the Company’s business; and it is further

                   RESOLVED, that the Authorized Officers, acting alone or with one or more other
            Authorized Officers, be, and they hereby are, authorized, empowered and directed to certify the
            authenticity of these resolutions.
DocuSign Envelope ID: E84789CF-47E6-44DB-AB46-0339DC8408F0
             Case 22-30659-mvl11 Doc 1 Filed 04/14/22             Entered 04/14/22 09:02:40        Page 6 of 9




            B.       Retention of Professionals

                    IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby
            are, authorized and directed to employ the law firm of POLSINELLI PC as general bankruptcy
            counsel to represent and assist the Company in carrying out its duties under the Bankruptcy Code,
            and to take any and all actions to advance the Company’s rights and obligations, including filing
            any pleadings; and in connection therewith, each of the Authorized Officers, with power of
            delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
            appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
            services of POLSINELLI PC; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ the firm of FTI CONSULTING, INC. to represent and assist the Authorized
            Officers and the Company in carrying out their duties under the Bankruptcy Code, and to take any
            and all actions to advance the Company’s rights and obligations; and in connection therewith, each
            of the Authorized Officers are, with power of delegation, hereby authorized and directed to execute
            appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
            application for authority to retain the services of FTI CONSULTING, INC.; and it is further

                     RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ the firm of KURTZMAN CARSON CONSULTANTS LLC. as notice, claims,
            and balloting agent and as administrative advisor to represent and assist the Company in carrying
            out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
            rights and obligations; and in connection therewith, each of the Authorized Officers, with power
            of delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
            appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
            services of KURTZMAN CARSON CONSULTANTS LLC; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and
            directed to employ any other professionals to assist the Company in carrying out its duties under
            the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with power
            of delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
            appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
            services of any other professionals as necessary; and it is further

                    RESOLVED, that each of the Authorized Officers be, and they hereby are, with power of
            delegation, authorized, empowered and directed to execute and file all petitions, schedules,
            motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
            and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
            and to take and perform any and all further acts and deeds that each of the Authorized Officers
            deem necessary, proper, or desirable in connection with the Chapter 11 Case, with a view to the
            successful prosecution of such case; and it is further
DocuSign Envelope ID: E84789CF-47E6-44DB-AB46-0339DC8408F0
             Case 22-30659-mvl11 Doc 1 Filed 04/14/22            Entered 04/14/22 09:02:40         Page 7 of 9




            C.       Interim Debtor-in-Possession Financing; Interim Cash Collateral Order and
                     Adequate Protection; and Restructuring Support Agreement

                    RESOLVED, that the Authorized Officers of the Company be, and they hereby are,
            authorized and directed, and each of them acting alone hereby is, authorized, directed, and
            empowered in the name of, and on behalf of, the Company, as debtor and debtor in possession, to
            take such actions and negotiate or cause to be prepared and negotiated and to execute, file, deliver
            and cause the Company to incur and perform its obligations under an interim debtor-in-possession
            financing transaction (“Interim DIP Loan”) so long as the Interim DIP Loan is (x) no greater than
            $2,000,000; (y) the lender under the Interim DIP Loan is UMB Bank, N.A., in its capacity as
            Trustee, as DIP Lender (the “Trustee”); and (z) is approved only on an interim basis thereby
            requiring the Authorized Officers to seek further authority from the Board before the Interim DIP
            Loan is either extended or is presented to the Bankruptcy Court for final approval; and it is further

                   RESOLVED, that the Company will obtain benefits from the use of collateral, including
            cash collateral, as that term is defined in Bankruptcy Code Section 363(a) (the “Collateral”),
            which is security for the Trustee; and it is further

                     RESOLVED, that to use and obtain the benefits of the Collateral and in accordance with
            Bankruptcy Code Section 363, the Company will provide certain adequate protection to the
            prepetition lenders (the “Adequate Protection Obligations”), as documented in a proposed
            interim order (the “Cash Collateral Order”) and submitted for approval to the Bankruptcy Court;
            and it is further

                    RESOLVED, that each of the Authorized Officers of the Company be, and they hereby
            are, authorized and empowered, in the name of and on behalf of the Company, to take such actions
            and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
            the performance of, the Cash Collateral Order, and such other agreements, certificates,
            instruments, receipts, petitions, motions or other papers or documents to which the Company is or
            will be a party; provided, however, the Authorized Officers shall seek further authority from the
            Board before the Cash Collateral Order is either extended or is presented to the Bankruptcy Court
            for final approval; and it is further

                    RESOLVED, that each of the Authorized Officers of the Company be, and they hereby
            are, authorized and empowered, in the name of and on behalf of the Company, to negotiate the
            terms of an agreement under which Lifespace Communities, Inc., the sole member of the
            Company, provides financial support for the restructuring of the Company (“Restructuring
            Support Agreement”); provided, however, any Restructuring Support Agreement shall be subject
            to the separate approval of the Board; and it is further


            D.       General

                   RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
            Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
            they hereby are, authorized and empowered, in the name of and on behalf of the Company, to take
DocuSign Envelope ID: E84789CF-47E6-44DB-AB46-0339DC8408F0
             Case 22-30659-mvl11 Doc 1 Filed 04/14/22            Entered 04/14/22 09:02:40         Page 8 of 9




            or cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
            and file any and all such agreements, certificates, instruments, and other documents and to pay all
            expenses, including but not limited to filing fees, in each case as in such officer’s or officers’
            judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
            accomplish the purposes of the resolutions adopted herein; and it is further

                    RESOLVED, that all members of the Board of the Company have received sufficient
            notice of the actions and transactions relating to the matters contemplated by the foregoing
            resolutions, as may be required by the organizational documents of the Company, or hereby waive
            any right to have received such notice; and it is further

                    RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
            by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
            have been approved by the foregoing resolutions except that such acts were taken before the
            adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
            deeds of the Company with the same force and effect as if each such act, transaction, agreement
            or certificate has been specifically authorized in advance by resolution of the Board; and it is
            further

                    RESOLVED, that each of the Authorized Officers (and their designees and delegates) be
            and hereby are authorized and empowered to take all actions or to not take any action in the name
            of the Company with respect to the transactions contemplated by these resolutions hereunder as
            the sole shareholder, partner, member or managing member of each direct subsidiary of the
            Company, in each case, as such Authorized Officer shall deem necessary or desirable in such
            Authorized Officers’ reasonable business judgment as may be necessary or appropriate to
            effectuate the purposes of the transactions contemplated herein.

                  These Resolutions may be signed in one or more counterparts, each of which shall be
            deemed an original, and all of which shall constitute one instrument.

                                         [Remainder of Page Intentionally Left Blank]
DocuSign Envelope ID: E84789CF-47E6-44DB-AB46-0339DC8408F0
             Case 22-30659-mvl11 Doc 1 Filed 04/14/22        Entered 04/14/22 09:02:40   Page 9 of 9




                    IN WITNESS WHEREOF, the undersigned have executed these Resolutions effective
            as of the 11th day of April, 2022.




                     ______________________________
                     Jesse Jantzen, Chairman



                     ______________________________
                     Nick Harshfield, Vice Chairman and Treasurer



                     ______________________________
                     Eddie Fenoglio, Secretary



                     ______________________________
                     David Stewart, Director



                     ______________________________
                     Curtis Gielow, Director
